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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

 IN RE: OIL SPILL BY THE OIL RIG            *            MDL NO. 2179
 “DEEPWATER HORIZON” IN THE                 *
 GULF OF MEXICO, ON APRIL 20, 2010          *            SECTION “J”
                                            *
 THIS DOCUMENT RELATES TO:                  *
                                            *            JUDGE BARBIER
 No. 2:13-cv-05804-CJB-SS; Elton Johnson v. *            MAG. JUDGE SHUSHAN
 BP Exploration and Production, Inc, et al  *

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                                      ORDER

         The Court has considered Plaintiff Elton Johnson’s Motion to Enforce

 Settlement Agreement With BP, all responsive briefing, and/or the arguments of

 counsel and is of the opinion that Plaintiff’s motion is meritorious. It is therefore

 GRANTED.

         IT IS THEREFORE ORDERED, ADJUDGED, and DECREED that BP

 shall deliver settlement funds to Elton Johnson’s counsel in the amount of $2,698,095

 within seven (7) days from the entry of this order. BP shall also pay interest in the

 amount of 5% simple interest on this amount accruing from the date of October 10,

 2011.

         New Orleans, Louisiana this _____ day of _______________________, 2013.




                                    ________________________________________
                                    HONORABLE CARL J. BARBIER
                                    UNITED STATES DISTRICT JUDGE
